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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


______________________________
                                 )
EUGENE NYAMBAL,                  )
                                 )
                  Plaintiff,     )
                                 ) Civil Action No. 14-01904(EGS)
          v.                     )
                                 )
ALLIEDBARTON SECURITY            )
SERVICES, LLC,                   )
                  Defendants.    )
______________________________)


                          Memorandum Opinion


  Plaintiff Eugene Nyambal (“Mr. Nyambal”) filed this lawsuit

against AlliedBarton Security Services LLC (“AlliedBarton”)

based on the company’s role in facilitating his removal from the

International Monetary Fund (“IMF”) and the World Bank’s

Washington, D.C. locations. Compl., ECF No. 1-3. Mr. Nyambal

alleges that AlliedBarton and the IMF conspired to retaliate

against him after he accused the IMF of participating in corrupt

practices. Id. Specifically, Mr. Nyambal alleges claims against

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AlliedBarton for tortious interference with his business

relationships, defamation, and intentional infliction of

emotional distress. 1 Id. AlliedBarton moves to dismiss Mr.

Nyambal’s claims. Upon consideration of the motion, the response

thereto, the applicable law, and the entire record,

AlliedBarton’s motion is GRANTED.

I. Background

    AlliedBarton provides security services to the IMF and World

Bank’s Washington D.C. offices. Id. at ¶ 2. This lawsuit arises

from several encounters Mr. Nyambal, an economist in the field

of international development, had with AlliedBarton staff

between 2009 and 2014. Id. at ¶ 1.

    Mr. Nyambal served as a senior advisor to Executive Director

Laurean Rutayisire, an IMF board member, until 2009. Id. While

at the IMF, Mr. Nyambal was responsible for advising member

countries during economic aid negotiations with the aim of

protecting IMF resources on behalf of its shareholders. Id. at ¶

5. Mr. Nyambal previously worked at the World Bank. Id. In 2009,




1 Mr. Nyambal also pled punitive damages in his Complaint, but
concedes that his “claim for punitive damages is not an
individual cause of action” and that he will “seek leave to
amend the Complaint in order to seek punitive damages in a
prayer for relief.” Pl.’s Mem. Opp., ECF No. 9 at 8.


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Mr. Nyambal “raised serious concerns” about the lack of

transparency and potential corruption relating to a mining

project between the IMF and the Cameroon government. Id. at ¶ 6.

On June 25, 2009, Mr. Nyambal’s employment at the IMF was

terminated “without notice or explanation”. Id. at ¶ 7. He was

immediately barred from entering his office, his personal

effects were confiscated, and all files pertaining to his work

on the Cameroon mining project were removed from his office. Id.

    A. Mr. Nyambal’s 2009 Encounter with AlliedBarton.

    In July 2009, Mr. Nyambal entered a publicly-accessible credit

union located in the IMF building to conduct a personal business

transaction. Id. at ¶ 8. Mr. Nyambal claims that two

AlliedBarton security officers “accosted and escorted” him from

the credit union “in full view of the public and a professional

colleague who had accompanied him into the premises.” Id. 2

    Mr. Nyambal claims that this incident was the first in a

series that demonstrate the IMF and AlliedBarton’s civil



2 After this incident, Mr. Nyambal brought suit against the IMF
for assault, false imprisonment, and intentional infliction of
emotional distress. Case No. 12-CV-1037. The D.C. Circuit
reversed this Court’s Order permitting jurisdictional discovery.
Nyambal v. Int'l Monetary Fund, 772 F.3d 277 (D.C. Cir. 2014)
cert. denied, 135 S. Ct. 2857 (2015). Mr. Nyambal voluntarily
withdrew his complaint in that lawsuit on June 29, 2015. See
Case No. 12-CV-1037, ECF No. 41.


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conspiracy against him, aimed at retaliating against him for his

public denunciations of the IMF’s role in the Cameroon mining

project. Id. at ¶ 9. Specifically, Mr. Nyambal claims the IMF

“blacklisted” him by placing his name and photograph on the

World Bank’s “No Admit List”, a list enforced by AlliedBarton

and “ordinarily maintained for people deemed to represent a

security threat to the World Bank and its staff.” Id. at ¶ 10.

  B. Mr. Nyambal’s July 2013 Encounter with AlliedBarton.

  In July 2013, nearly four years after Mr. Nyambal was

physically removed from the credit union, he was denied entry to

the building and thus not allowed to attend a meeting at the

World Bank. Id. at ¶ 11. Mr. Nyambal claims he was “humiliated

in the presence of many professional acquaintances.” Id. Mr.

Nyambal contacted the IMF, the World Bank, and AlliedBarton for

an explanation. Id. at ¶ 12. Neither AlliedBarton nor the IMF

responded to Mr. Nyambal’s inquiry. Id. The World Bank denied

giving AlliedBarton the instruction to place Mr. Nyambal’s

information on the No Admit List. Id. at ¶ 11-12.

  C. Mr. Nyambal’s October 2013 Encounter with AlliedBarton.

  Several months later, in October 2013, Mr. Nyambal and his

colleagues again sought to enter the World Bank to attend its

Annual Meeting and “meet with government officials and secure

contracts.” Id. at ¶ 13. Mr. Nyambal alleges he obtained a


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three-day visitor pass, but was once again denied entry. Id. Mr.

Nyambal argues he was “publicly humiliated in the presence of

former colleagues, professional acquaintances and government

officials.” Id. Mr. Nyambal alleges that the World Bank’s Human

Resources Department indicated that it did not know why his

access was restricted and that the World Bank did not place him

on the No Admit List. Id.

  D. Subsequent Events.

  In November 2013, an article entitled “IMF Whistleblower

Banned from the World Bank” was published on the Free Beacon’s

website. Compl. at ¶ 14; Pl.’s Mem. Opp., ECF No. 9 at 7. Mr.

Nyambal claims that publicity about his “blacklisting” tarnished

his reputation and resulted in the loss of several employment

opportunities in the development community. Compl. at ¶ 10. For

example, Mr. Nyambal’s work on a project with the Republic of

Equatorial Guinea ceased after authorities were informed by an

unspecified source that he was blacklisted from the World Bank.

See id. at ¶ 15. Although Mr. Nyambal has written a few

articles, he stopped working on his next book due to “financial

and emotional distress.” Id. Mr. Nyambal claims he can “barely

sleep more than 4 hours a night and has been under anti-

depressants sleeping pills, and heart medication for an extended




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period of time” to cope with his “public humiliation, and cruel

inhumane treatment” by AlliedBarton and the IMF. Id. at ¶ 21.

  E. Mr. Nyambal’s Communication with the World Bank.

  In June 2014, the World Bank denied responsibility for the

placement of Mr. Nyambal’s name on the No Admit List. Id. at ¶

16. At a June 5, 2014 meeting with the World Bank and

AlliedBarton, Mr. Nyambal alleges that AlliedBarton acknowledged

that Mr. Nyambal’s “blacklisting of October 9, 2013, was

triggered by the information provided by the IMF to the World

Bank through AlliedBarton” and “that the July 23, 2013,

blacklisting was triggered by a technical error in the process

of changing Mr. Nyambal’s access status from ‘former staff

member’ to ‘visitor.’” Id. at ¶ 17.

II.    Discussion

       A. Standard of Review.

  A motion to dismiss under Federal Rule of Civil Procedure

12(b)(6) tests the legal sufficiency of a complaint. Browning v.

Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002). The pleading must

contain a “short plain statement of the claim showing that the

pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2);

Ashcroft v. Iqbal, 556 U.S. 662, 677-78 (2009). The pleading

standard does not require detailed factual allegations, but

should be “more than an unadorned, the-defendant-unlawfully-


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harmed-me accusation.” Id. at 678. Naked assertions without

factual enhancements or formulaic recitations of the elements of

a cause of action will not suffice. Id. Rather, to survive a

motion to dismiss, a complaint “must contain sufficient factual

matter . . . to ‘state a claim to relief that is plausible on

its face.’” Id. Plausibility entails that the plaintiff has

plead factual content that is not merely consistent with

liability but allows the Court to draw a reasonable inference

that the defendant is liable for the alleged misconduct. Id.

  In considering a 12(b)(6) motion, the Court should liberally

view the complaint in the plaintiff’s favor, accepting all

factual allegations as true, and giving the plaintiff the

benefit of all inferences that can be drawn therefrom. Redding

v. Edwards, 569 F. Supp. 2d 129, 131 (D.D.C. 2008) (citing Kowal

v. MCI Commc’ns Corp., 16 F.3d 1271, 1276 (D.C. Cir. 1994)).

     B. Mr. Nyambal’s Tort Claims are Subject to a One-Year
        Statute of Limitations Period.

  AlliedBarton argues that the one-year statute of limitations

period that applies to Mr. Nyambal’s defamation claim also

applies to Mr. Nyambal’s claims for intentional infliction of

emotional distress and tortious interference with business

relations because the three alleged torts are “inexorably




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intertwined.” Def.’s Mem. Supp., ECF No. 7-1 at 16. 3 Mr. Nyambal

maintains that each tort claim stands on its own evidentiary

foundation. Pl.’s Mem. Opp. at 8.

    The D.C. Code does not specify a statute of limitations period

for intentional infliction of emotional distress or tortious

interference with business relationships, thus both claims are

subject to a three-year statute of limitations. 4 See D.C. Code §

12-301(8) (noting that actions not subject to an otherwise

defined statute of limitation periods are subject to a three-

year limitation period). However, when such causes of action are

“intertwined” with claims subject to a specified limitations

period, the defined limitation period applies to all claims. See

Mittleman v. United States, 104 F.3d 410, 415-16 (D.C. Cir.

1997) (holding that a claim is “intertwined” with another claim

when the claims are based on the same underlying facts). See




3 A statute of limitations defense may be raised under a motion
to dismiss for failure to state a claim. Exec. Sandwich Shoppe,
Inc. v. Carr Realty Corp., 749 A.2d 724, 734 (D.C. 2000) (citing
Jones v. Rogers Mem’l Hosp., 442 F.2d 773, 775 (D.C. Cir.
1971)).
4
 AlliedBarton removed this matter to federal court from the
Superior Court of the District of Columbia on November 12, 2014.
The U.S. District Court for the District of Columbia sitting in
diversity must apply the substantive law of the District of
Columbia. Erie. R.R. Co. v. Tompkins, 304 U.S. 64, 78 (1938);
Novak v. Capital Mgmt. & Dev. Corp., 452 F.3d 902, 907 (D.C.
Cir. 2006).

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also Browning, 292 F.3d at 244 (holding that defamation’s one-

year statute of limitations applied to tortious interference

with business expectancy claim where the defamatory conduct was

“the sole basis for . . . the tortious interference . . . .”);

Rendall-Speranza v. Nassim, 107 F.3d 913, 920 (D.C. Cir.

1997)(holding that plaintiff’s emotional distress claim was

subject to a one-year statute of limitations prescribed for

assault and battery because every incident that allegedly caused

plaintiff emotional distress involved an assault and battery).

  Mr. Nyambal’s July 2013 and October 2013 allegations are

relevant to determine which statute of limitations period should

apply to his intentional infliction of emotional distress and

tortious interference with business relationships claims. The

facts alleged by Mr. Nyambal pertaining to the July 2013

incident include:

     On July 23, 2013, as a private contractor, Mr. Nyambal
     went to the World Bank building in Washington, D.C. to
     conduct a routine business meeting. He was denied access
     to the World Bank building by AlliedBarton security
     officers who stated that their screen indicated that
     there was a restriction against him and they refused to
     allow him access to the building. Mr. Nyambal was
     humiliated in the presence of many professional
     acquaintances.
Compl. at ¶ 11. The facts alleged pertaining to Mr. Nyambal’s

October 9, 2013 encounter with Allied Barton include:

     On October 9, 2013, with the belief that the restrictions
     had been removed, Mr. Nyambal and a colleague made
     arrangements to attend the Annual Meetings of the World
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     Bank in order to meet with government officials and
     secure contracts. However, Mr. Nyambal was once again
     publicly   humiliated  in   the   presence of  former
     colleagues, professional acquaintances and government
     officials attending the Annual Meetings.

Id. at ¶ 13.

  The above allegations are the most specific facts pled

against AlliedBarton and the same facts are pled for each

encounter giving rise to Mr. Nyambal’s claims. Similar to

Nassim, Mr. Nyambal’s claims are intertwined because every

incident that allegedly interfered with Mr. Nyambal’s

business relationships and caused him emotional distress

also allegedly defamed him. See Id. at ¶ 30

(“[A]lliedBarton defamed and slandered Mr. Nyambal by

blacklisting him at the World Bank.”). Put another way,

AlliedBarton’s alleged defamatory action of “unlawful

blacklisting” prevented Mr. Nyambal from entering the World

Bank building, thereby allegedly interfering with his

business relationships and causing him emotional distress.

  In sum, Mr. Nyambal’s claims arise out of the same set of

facts and are thus “intertwined.” The one-year statute of

limitations period applicable to Mr. Nyambal’s defamation

claim shall also govern his intentional infliction of

emotional distress and tortious interference with business

relations claims. Thus, only those alleged facts that


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occurred on or after October 9, 2013 shall be considered in

analyzing whether Mr. Nyambal has pled sufficient facts to

state a tortious interference claim. This excludes

consideration of Mr. Nyambal’s July 2013 encounter with

AlliedBarton, but includes consideration of Mr. Nyambal’s

October 2013 encounter with AlliedBarton.

     C. Mr. Nyambal’s Tortious Interference Claim Fails.

  AlliedBarton argues that Mr. Nyambal fails to state a tortious

interference with business relationships claim because Mr.

Nyambal does not allege any specific business relationships or

contracts that were compromised by AlliedBarton. Def.’s Mem.

Supp. at 5-7. Moreover, AlliedBarton argues that Mr. Nyambal has

not sufficiently pled that it had knowledge of any business

relationships that were allegedly compromised due to its

enforcement of the No Admit list. Id. Mr. Nyambal responds that

“the very purpose of blacklisting [him] from the World Bank was

to interfere with his on-going business relationships.” Pl.’s

Mem. Opp. at 6.

  To plead a tortious interference with business relationships

claim under District of Columbia law, one must allege: (1) the

existence of a valid business relationship or expectancy, (2)

knowledge of the relationship or expectancy on the part of the

interferer, (3) intentional interference inducing or causing a


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breach or termination of the relationship or expectancy, and (4)

resultant damage. Browning, 292 F.3d at 242; Bennett Enters.,

Inc. v. Domino's Pizza, Inc., 45 F.3d 493, 499 (D.C. Cir. 1995).

  Mr. Nyambal fails to adequately plead facts in support of

several elements necessary to state a tortious interference

claim. First, in regard to the existence of a valid business

relationship or expectancy, Mr. Nyambal alleges that he

attempted to enter the World Bank during its annual meeting “to

meet with government officials and secure contracts” but was

unable to secure expectant business because AlliedBarton denied

him access to the building. Compl. at ¶ 13. Valid business

expectancies may include lost future contracts, but the

expectancy must be “commercially reasonable to anticipate.”

Command Consulting Group LLC, v. Neuraliq, Inc., 623 F. Supp. 2d

49, 52 (D.D.C. 2009) (citing Browning, 292 F.3d at 242). For

this reason, tortious interference claims are routinely

dismissed where the plaintiff fails to name specific contractual

relationships that the defendant allegedly interfered with, or

to identify any facts related to future contracts compromised by

the alleged interferer. See Williams v. Fed. Nat’l Mortgage

Ass’n, 2006 WL 1774252, at *8 (D.D.C. June 26, 2006) (dismissing

tortious interference claim where plaintiff did not name third

parties with whom plaintiff had a business relationship); Kwang


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Dong Pharm. Co. v. Han, 205 F. Supp.2d 489, 496-97 (D. Md. 2002)

(dismissing tortious interference claim under D.C. law because

plaintiff did not point to any specific contractual

relationships that defendant interfered with).

   Here, Mr. Nyambal makes only a general reference to meetings

with “government officials.” Compl. at ¶ 13. Mr. Nyambal’s

general and conclusory pleading thus lacks the specificity

required to hold AlliedBarton liable for interference with

expectant business relationships, or to establish that the

expectant business was commercially reasonable to anticipate.

  Furthermore, Mr. Nyambal has not pled facts alleging

AlliedBarton had knowledge of the business relationships it

compromised. Mr. Nyambal argues that because the IMF knew of his

business relationships, its co-conspirator AlliedBarton must be

presumed to have shared that knowledge. As argued by Mr.

Nyambal:

     Certainly, the IMF, whose knowledge of Mr. Nyambal’s
     contracting projects is attributable to AlliedBarton as
     a co-conspirator, was aware that Mr. Nyambal was working
     through the World Bank. . . . The IMF was certainly aware
     that Mr. Nyambal had been working for the World Bank as
     a private contractor since leaving the IMF in 2009.

Pl.’s Mem. Opp. at 5.

   Mr. Nyambal cannot rely on his civil conspiracy theory to

impute knowledge of his business relationships from the IMF to

AlliedBarton to state a tortious interference claim. “Civil

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conspiracy is not an independent tort but only a means for

establishing vicarious liability for an underlying tort.” Exec.

Sandwich Shoppe, Inc., 749 A.2d at 738. “If the underlying tort

claim fails, a conspiracy claim based on such a tort also

fails.” Nanko Shipping USA, et al. v. Alcoa, Inc., et al., Case

No. 14-1301, 2015 WL 3534155 at * 7 (D.D.C. June 5, 2015)(citing

Halberstam v. Welch, 705 F.2d 472, 479 (D.C. Cir. 1983). For all

of these reasons, Mr. Nyambal fails to state a tortious

interference with business relationships claim against

AlliedBarton. 5 Because Mr. Nyambal fails to establish the first

or second element of a tortious interference claim, the Court

need not discuss the third or fourth elements.

           D.    Mr. Nyambal Fails to State a Defamation Claim.

    AlliedBarton argues Mr. Nyambal’s defamation claim fails

because he does not identify a defamatory statement made by

AlliedBarton personnel and also fails to identify third parties

to whom a defamatory statement was published. Def. Mem. Supp.,




5 Mr. Nyambal alleges that a contract with the Government of
Equatorial Guinea, which arose well after the World Bank’s 2013
Annual Meeting, fell through due to his “blacklisting.” “[O]n or
about May 21, 2014, the contracting authorities in Equatorial
Guinea were advised that Mr. Nyambal had been blacklisted at the
World Bank and IMF for wrongdoing and unethical actions.” Id. at
¶ 15. However, Mr. Nyambal does not allege that AlliedBarton had
knowledge of this contract when he was denied access to the
World Bank in October 2013.

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ECF No. 7 at 11-12. Mr. Nyambal contends that his name and photo

on the Do Not Admit list constitutes a defamatory statement.

Pl.’s Mem. Opp., ECF No. 9 at 6. Mr. Nyambal also argues that

being denied entry to the World Bank in October 2013 was

defamatory by implication. Id. 6-7.

  To state a defamation claim under District of Columbia law,

one must allege that (1) the defendant made a false and

defamatory statement about the plaintiff, (2) the defendant

published the statement without privilege to a third party, (3)

the defendant’s fault in publishing the statement amounted to at

least negligence, and (4) the statement was actionable as a

matter of law irrespective of special harm or that its

publication caused the plaintiff special harm. Solers, Inc. v.

Doe, 977 A.2d 941, 948 (D.C. 2009) (citing Oparaugo v. Watts,

884 A.2d 63, 76 (D.C. 2005)).

  Mr. Nyambal’s defamation claim fails because he has not pled

sufficient facts to establish the third element, namely that

AlliedBarton acted negligently in publishing his name on the Do

Not Admit list. As with his tortious interference claim, Mr.

Nyambal   imputes   liability   for     his   alleged   defamation   onto

AlliedBarton only through a theory of civil conspiracy. In his

complaint Mr. Nyambal alleges that the IMF was responsible for his

name appearing on the Do Not Admit List:


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     [w]hile acknowledging that Nyambal’s blacklisting of
     October 9, 2013 was triggered by the information
     provided by the IMF to the World Bank through
     AlliedBarton . . .” and “[d]espite Nyambal’s multiple
     requests to the IMF Managing Director and Executive
     Board and the available evidence provided by the World
     Bank, the IMF has refused to provide any explanation or
     to investigate Nyambal’s illegal blacklisting at the
     World Bank.


Compl. at ¶ 17 and 20(emphasis added). In his memorandum in

opposition, Mr. Nyambal emphasizes that the “blacklisting” memo

was “created by the IMF.” ECF No. 9 at 6.

     To satisfy the third element of a defamation claim, a

plaintiff must allege that the defendant was at least negligent

in publishing the alleged defamatory statement. 6 See, e.g. Jones

v. U-Haul Co. of Dist. of Columbia, Inc., 169 Fed. Appx. 590,

591 (D.C. Cir. 2005) (affirming District Court’s dismissal of

Plaintiff’s defamation claim, holding that Plaintiff failed to

establish Defendants were negligent in publishing allegedly

defamatory statements).




6  Although novel, the Court accepts Plaintiff’s assertion that
inclusion of his name on the Do No Admit list constitutes a
“publication” for purposes of analyzing his defamation claim.
See e.g., Afro-Am. Pub. Co. v. Jaffe, 366 F.2d 649, 654-55 (D.C.
Cir. 1966)(holding that “defamation turns on whether the
communication or publication tends, or is reasonably calculated,
to cause harm to another’s reputation.”).


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     In this case, Mr. Nyambal alleges that the IMF was the only

entity with the power to decide what names appeared on the Do

Not Admit list. See e.g., Compl. at ¶ 17 and 20; ECF No. 9 at 6.

As such, the IMF is the only entity that could potentially be

liable for any alleged defamation. See e.g. Taylor v. Streicher,

465 Fed. Appx. 414, 422 (6th Cir. 2012) (holding that only the

news article publisher, who had ultimate control of what was

published, could be held responsible for publication of alleged

defamatory statements); Willi v. American Airlines, Inc., Case

No. 05-453, 2007 WL 1650419, * 5 (N.D. Tex. 2007) (noting that

only the party responsible for publication of the alleged

defamatory statement could be held liable). By refusing Mr.

Nyambal access to the World Bank based on the Do Not Admit List,

AlliedBarton executed its duties as the IMF and World Bank’s

security company. AlliedBarton cannot be found negligent for

publishing Mr. Nyambal’s name on the Do Not Admit List because

it is not alleged that AlliedBarton published his name on the

list.

     Because Mr. Nyambal has not alleged sufficient facts to

establish the third element of a defamation claim against

AlliedBarton, it is not necessary to reach the first, second and

fourth elements.




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       E. Mr. Nyambal Fails to State a Claim for Intentional
          Infliction of Emotional Distress.

  AlliedBarton argues that its role in barring Mr. Nyambal’s

entry to the World Bank building does not constitute “extreme or

outrageous” conduct necessary to state a claim for intentional

infliction of emotional distress. Def.’s Mem. Supp. at 11. Mr.

Nyambal responds that whether AlliedBarton’s conduct was extreme

or outrageous is a question of fact. Pl.’s Mem. Opp. at 8.

  To state a claim for intentional infliction of emotional

distress under District of Columbia law, a plaintiff must allege

that the defendant’s conduct was (1) “extreme and outrageous”,

(2) intentional or reckless, and (3) caused the plaintiff severe

emotional distress. The conduct must be “so outrageous in

character, and so extreme in degree, as to go beyond all

possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.” Kotsch v. D.C.,

924 A.2d 1040, 1045-46 (D.C. 2007) (citations omitted); Kerrigan

v. Britches of Georgetowne, Inc., 705 A.2d 624, 628 (D.C. 1997).

“Whether the conduct complained of is sufficiently outrageous is

a question of law that should be decided by the court on a

motion to dismiss.”    Smith v. United States, 2015 WL 48880891,

at * 9 (D.D.C. August 14, 2015)(citing Abourezk v. N.Y.

Airlines, Inc., 895 F.2d 1456, 1458 (D.C. Cir. 1990).



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  For many of the reasons discussed in Sections II C and D,

AlliedBarton’s refusal to permit Mr. Nyambal entry into the

World Bank was not, as a matter of law, outrageous or extreme

conduct. Because Mr. Nyambal’s name appeared on the Do No Admit

list, AlliedBarton was required to deny him entry. Thus, even if

Mr. Nyambal is correct that his name was not properly on the Do

Not Admit list, denying him entry was not extreme or outrageous

conduct. See e.g., King v. Kidd, 640 A.2d 656, 670–74 (D.C.

1993) (finding conduct not extreme and outrageous when

supervisor failed repeatedly to respond to employee’s sexual

harassment complaints, although noting that other retaliatory

conduct was sufficient to send case to jury); Waldon v.

Covington, 415 A.2d 1070, 1077–78 (D.C. 1980) (finding conduct

not outrageous when employer refused to give employee-professor

keys to laboratory and notice of departmental meetings,

threatened to begin actions to test competency with aim to

terminate, and assigned employee classes outside specialty

knowing it would cause difficulty and embarrassment).

       F. Mr. Nyambal’s Civil Conspiracy Claim fails.

     Mr. Nyambal’s civil conspiracy claim fails and will not be

discussed at length because he has not pled sufficient facts in

support of any of the underlying torts alleged. See, e.g. Nader

v. Democratic Nat. Comm., 567 F.3d 692, 697 (D.C. Cir. 2009)


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(citing Executive Sandwich Shoppe, Inc. v. Carr Realty Corp.,

749 A.2d 724, 738 (D.C. 2000) (“[C]ivil conspiracy depends on

performance of some underlying tortious act.”)).



III. Conclusion

     For the foregoing reasons, AlliedBarton’s Motion to Dismiss

is GRANTED. An appropriate order accompanies this memorandum.




Signed:           Emmet G. Sullivan
                  United States District Court Judge
                  January 26, 2016




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